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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                              PITTSBURGH DIVISON
                                                        CAT 7
LORI COLTOGIRONE AND MARTHA                                                   B066
AGGAZIO, INDIVIDUALLY AND ON
BEHALF OF ALL OTHERS SIMILARLY                                             20-CV-605
                                                         Civil Action No. _________
SITUATED,
                                                         JURY TRIAL DEMANDED
         Plaintiffs ,
                                                         COLLECTIVE ACTION PURSUANT
v.                                                       TO 29 U.S.C. § 216(b)

GATEWAY HEALTH PLAN, INC.,                               CLASS ACTION/FED. R. CIV. P. 23

         Defendant.


                        CLASS AND COLLECTIVE ACTION COMPLAINT

        1.       Plaintiffs Lori Coltogirone and Martha Aggazio (“Plaintiffs”) bring this lawsuit to

recover unpaid overtime wages and other damages from Gateway Health Plan, Inc. (“Defendant”)

under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), and the Pennsylvania Minimum

Wage Act (“PMWA”), 43 Pa. Stat. Ann. § 333.104.

                                            BACKGROUND

        2.       Defendant is a managed care organization that provides services to Medicaid and

Medicare enrollees.

        3.       Defendant is a subsidiary of Highmark Inc., which, together with its health insurance

subsidiaries and affiliates, is among the ten largest health insurers in the United States and the fourth

largest Blue Cross and Blue Shield-affiliated organization.

        4.       Defendant is a Pennsylvania state-licensed Health Maintenance Organization.

        5.       Defendant holds an accreditation as a Medicaid HMO from the National Committee

for Quality Assurance.

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           6.       Defendant’s business consists of contracting with state (Medicaid) and federal

(Medicare) agencies to operate government-sponsored health plans in exchange for a fixed monthly

fee per health plan enrollee.

           7.       Defendant has entered into contracts to provide managed care services on behalf of

government-sponsored health plan customers in Pennsylvania, Delaware, West Virginia, Kentucky,

Ohio and North Carolina. 1

           8.       Neither Defendant nor its employees provide direct medical care to health plan

enrollees.

           9.       Instead, Defendant contracts with and pays patient care providers to provide

healthcare services to Medicaid and/or Medicare health plan enrollees.

           10.      Defendant provides utilization review and case management services to its health plan

customers to attempt to reduce the costs of medical care.

           11.      Defendant employed Plaintiffs and other individuals to perform case management and

utilization review services under various non-managerial job titles in its “Clinical Services” job family 2

that include one or more of the following terms or variations of those terms: (1) Case/Care Manager;

(2) Care Coordinator; and (3) Utilization Review/Management 3 (collectively, “Managed Care

Employees”).

           12.      Defendant paid some or all of its Managed Care Employees on a salary basis.




1See www.pagoppolicy.com/Display/SiteFiles/112/2018Hearings/medicaidreform/GatewayHealth-
MedicaidManagedCareinPA.pdf (last visited April 11, 2020).
2https://careers.highmarkhealth.org/ (providing a “Career Area” dropdown box with over twenty job families, including
Defendant’s “Clinical Services” job family) (last visited April 11, 2020).
3   This includes job titles that include the abbreviation “UM” (Utilization Management) or “UR” (Utilization Review).
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       13.     Some or all of Defendant’s Managed Care Employees regularly worked over 40 hours

per week for Defendant.

       14.     Defendant classified some or all of its Managed Care Employees as exempt from state

and federal overtime laws and did not pay them overtime pay when they worked over 40 hours in

individual workweeks.

       15.     Defendant misclassified Care Management Employees as exempt from state and

federal overtime laws.

       16.     The case management and utilization review duties performed by Plaintiffs and other

Managed Care Employees consisted of collecting information to document health plan enrollees’

medical circumstances (data collection); inputting that medical information into Defendant’s

computer systems (data entry); applying well-established criteria and guidelines to maximize utilization

of plan resources (utilization management); coordinating care by performing ministerial tasks,

including arranging appointments and referrals and obtaining necessary authorizations (care

coordination); supplying individuals with information to educate them about their health plans and

community resources (education); and other similar work (collectively, “Managed Care Work”).

       17.     The Managed Care Work performed by Plaintiffs and other Care Management

Employees was non-exempt work.

       18.     Plaintiffs bring this action on behalf of themselves and other similarly situated

Managed Care Employees who, due to Defendant’s misclassification scheme, were not paid all earned

overtime pay for time they worked in excess of forty (40) hours in one or more individual workweeks

in violation of the of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

       19.     Plaintiffs also bring class action claims under Pennsylvania state law under the

Pennsylvania Minimum Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. § 333.101, et seq.

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        20.         Plaintiffs bring their state law claims pursuant to Fed. R. Civ. P. 23(b)(3) and 23(c)(4)

for Defendant’s failure to pay her and other Care Management Employees for all earned overtime

pay.

                                                THE PARTIES

        21.         Plaintiff Coltogirone worked for Defendant as a Managed Care Employee from

November 2013 to September 2017.

        22.         Plaintiff Aggazio worked for Defendant as a Managed Care Employee from

September 2015 to August 2018.

        23.         Defendant’s principal place of business is located in Pittsburgh, Pennsylvania, within

this Judicial District.

                                         JURISDICTION AND VENUE

        24.         This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because Plaintiffs’

FLSA claims arise under federal law. See U.S.C. § 216(b).

        25.         This Court also has federal jurisdiction over this action pursuant to the jurisdictional

provisions of the Class Action Fairness Act, 28 U.S.C. § 1332(d). The Court also has supplemental

jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367(a) because they arise out of the

same facts as their FLSA claims.

        26.         Venue is proper in this District under 28 U.S.C. § 1391 because the events forming

the basis of this suit occurred in this District and substantial activities took place in Pittsburgh,

Pennsylvania related to Plaintiffs’ claims.

        27.         Venue is also proper in this District under 28 U.S.C. § 1391 because Defendant resides

in this District.

                                           FACTUAL ALLEGATIONS

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          28.      Plaintiffs worked as Managed Care Employees for Defendant.

          29.      During her employment with Defendant, Plaintiff Coltogirone’s job duties were

routine and rote and did not include the exercise of discretion and judgment with respect to matters

of significance.

          30.      During her employment with Defendant, Plaintiff Aggazio’s job duties were routine

and rote and did not include the exercise of discretion and judgment with respect to matters of

significance.

          31.      During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include engaging in bedside nursing or providing medical advice to patients or other individuals with

health issues.

          32.      During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

engaging in bedside nursing or providing medical advice to patients or other individuals with health

issues.

          33.      During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

involve providing traditional nursing care in a clinical setting or providing direct medical care to

patients or other individuals with health issues.

          34.      During her employment with Defendant, Plaintiff Aggazio’s job duties did not involve

providing traditional nursing care in a clinical setting or providing direct medical care to patients or

other individuals with health issues.

          35.      During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include administering patients’ medicine or treatments.

          36.      During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

administering patients’ medicine or treatments.

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        37.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include operating or monitoring medical equipment.

        38.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

operating or monitoring medical equipment.

        39.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include performing or helping to perform diagnostic tests.

        40.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

performing or helping to perform diagnostic tests.

        41.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include analyzing the results from diagnostic tests.

        42.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

analyzing the results from diagnostic tests.

        43.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include diagnosing human responses to actual or potential health problems.

        44.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

diagnosing human responses to actual or potential health problems.

        45.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include interviewing patients to consider or advise them regarding alternative treatments.

        46.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

interviewing patients to consider or advise them regarding alternative treatments.

        47.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include providing medical opinions on treatment and medication.



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       48.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

providing medical opinions on treatment and medication.

       49.     During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

include determining whether an issue should be referred for an independent medical evaluation.

       50.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not include

determining whether an issue should be referred for an independent medical evaluation.

       51.     During her employment with Defendant, Defendant required Plaintiff Coltogirone to

perform her job duties in accordance with its corporate policies, procedures, guidelines, and guidelines

embedded in Defendant’s computer software.

       52.     During her employment with Defendant, Defendant required Plaintiff Aggazio to

perform her job duties in accordance with its corporate policies, procedures, guidelines, and guidelines

embedded in Defendant’s computer software.

       53.      During her employment with Defendant, Plaintiff Coltogirone’s job duties did not

involve creating or drafting the corporate policies, procedures, and guidelines that she was required to

follow in the performance of her job duties.

       54.     During her employment with Defendant, Plaintiff Aggazio’s job duties did not involve

creating or drafting the corporate policies, procedures, and guidelines that she was required to follow

in the performance of her job duties.

       55.     Defendant suffered and permitted Plaintiff Coltogirone to work over 40 hours in one

or more individual workweeks during the last three (3) years.

       56.     Defendant suffered and permitted Plaintiff Aggazio to work over 40 hours in one or

more individual workweeks during the last three (3) years.



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        57.     During her employment with Defendant, Plaintiff Coltogirone worked over 40 hours

in one or more individual workweeks during the last three (3) years.

        58.     During her employment with Defendant, Plaintiff Aggazio worked over 40 hours in

one or more individual workweeks during the last three (3) years.

        59.     Defendant classified Plaintiff Coltogirone as exempt from the overtime provisions of

the FLSA and the PMWA.

        60.     Defendant classified Plaintiff Aggazio as exempt from the overtime provisions of the

FLSA and the PMWA.

        61.     Defendant paid Plaintiff Coltogirone a salary.

        62.     Defendant paid Plaintiff Aggazio a salary.

        63.     When Plaintiff Coltogirone worked over 40 hours in individual workweeks, Defendant

did not pay her overtime at one-and-one-half times her regular rate of pay.

        64.     When Plaintiff Aggazio worked over 40 hours in individual workweeks, Defendant

did not pay her overtime at one-and-one-half times her regular rate of pay.

                                  COVERAGE UNDER THE FLSA

        65.     Defendant is an “enterprise” as defined by the FLSA in 29 U.S.C. § 203(r)(1).

        66.     Defendant is an enterprise engaged in commerce or in the production of goods for

commerce as defined by the FLSA in 29 U.S.C. § 203(s)(1)(A).

        67.     Defendant has more than $500,000 in sales made or business done in each of the last

three calendar years.

        68.     During her employment, Plaintiff Coltogirone was an “employee” of Defendant as

defined by the FLSA in 29 U.S.C. § 203(e).



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       69.     During her employment, Plaintiff Aggazio was an “employee” of Defendant as defined

by the FLSA in 29 U.S.C. § 203(e).

       70.     During her employment, Defendant was Plaintiff Coltogirone’s “employer” as defined

under the FLSA in § 203(d).

       71.     During her employment, Defendant was Plaintiff Aggazio’s “employer” as defined

under the FLSA in § 203(d).

                                 COLLECTIVE ACTION ALLEGATIONS

       72.     Plaintiffs brings their FLSA claims as a collective action.

       73.     Plaintiffs’ consent form to participate in this collective action as party plaintiffs are

attached to this Complaint as Exhibit A.

       74.     The collective action is defined as follows:

       All individuals employed by Defendant as Managed Care Employees in the last
       three years who were paid a salary and were classified as exempt from overtime
       (“Collective Action Members”).

       75.     Plaintiffs are similarly situated to the Collective Action Members because they were

paid in the same manner and performed the same primary job duties.

       76.     During their employment, Collective Action Members were Defendant’s “employees”

as defined by the FLSA, 29 U.S.C. § 203(e).

       77.     During their employment, Defendant was Collective Action Members’ “employer” as

defined by the FLSA, § 203(d).

       78.     Of Defendant’s employees who performed the same primary job duties as Plaintiffs

in the last three years, Defendant classified some or all as exempt from the overtime provisions of the

FLSA and paid them a salary.



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       79.        Of Defendant’s employees classified as exempt and who performed the same primary

duties as Plaintiffs in the last three years, some or all worked over 40 hours in one or more individual

workweeks.

       80.        The following are some of the questions of law and fact that are common to the

Collective Action Members:

             a.   Whether Defendant employed Plaintiffs and the Collective Action Members within

                  the meaning of the FLSA;

             b. Whether Defendant improperly classified Plaintiffs and the Collective Action

                  Members as exempt from the overtime provisions of the FLSA;

             c. Whether Plaintiffs and the Collective Action Members worked more than forty (40)

                  hours in one or more individual workweeks during the prior three years;

             d. Whether Defendant failed to pay Plaintiffs and the Collective Action Members

                  overtime at one-and-one-half times their regular rates of pay when they worked more

                  than forty (40) hours per week;

             e. Whether Defendant’s decision to classify Plaintiffs and the Collective Action Members

                  as exempt employees was made in good faith; and

             f. Whether Defendant willfully violated the FLSA by classifying Plaintiffs and the

                  Collective Action Members as exempt employees.

       81.        Defendant maintained one or more common job descriptions for Managed Care

Employees.

       82.        Defendant has names and addresses for potential Collective Action Members in its

payroll or personnel records.



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         83.     Defendant has email addresses for potential Collective Action Members in its payroll

or personnel records.

         84.     Defendant has phone numbers for potential Collective Action Members in its payroll

or personnel records.

         85.     Defendant is aware or should have been aware that the FLSA required it to pay

potential Collective Action Members overtime if they primarily performed non-exempt work.

                                     CLASS ACTION ALLEGATIONS

         86.     Plaintiffs also seek class certification of the following state law class under Fed. R. Civ.

P. 23:

         All individuals employed by Defendant in Pennsylvania as Care Management
         Employees in the past three years who were paid a salary and were classified
         as exempt from overtime (the “Pennsylvania Class”).

         87.     The Pennsylvania Class has more than 40 members.

         88.     As a result, the Pennsylvania Class is so numerous that joinder of all members is not

practical.

         89.     There are questions of law or fact common to members of the Pennsylvania Class,

including (1) whether the Pennsylvania Class members primarily performed non-exempt work; (2)

whether Defendant violated the PMW by refusing to pay the Pennsylvania Class members overtime

pay; and (3) the proper measure of damages if Defendant misclassified the Pennsylvania Class

members as exempt from the overtime provisions of the PMWA.

         90.     Plaintiffs’ overtime claims are typical of those of the Pennsylvania Class because they

arise out of Defendant’s uniform compensation practices.

         91.     Defendant’s defenses to Plaintiffs’ PMWA claims are typical of its defenses to those

of the Pennsylvania Class because they are grounded in the same compensation practices.

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        92.     Plaintiffs can fairly and adequately protect the interests of the Pennsylvania Class

members because they are asserting the same claims as the Pennsylvania Class members.

        93.     Plaintiffs can fairly and adequately protect the interests of the Pennsylvania Class

members because Plaintiffs have no interests adverse to the Pennsylvania Class.

        94.     Plaintiffs can fairly and adequately protect the interests of the Pennsylvania Class

members because Plaintiffs have retained counsel experienced in class action employment litigation.

        95.     The common questions of law and fact predominate over the variations which may

exist between members of the Pennsylvania Class, if any.

        96.     Plaintiffs and the members of the Pennsylvania Class on the one hand, and Defendant

on the other, have a commonality of interest in the subject matter and remedy sought, namely back

wages, interest, statutory penalties, attorneys’ fees and costs.

        97.     If individual actions were required to be brought by each member of the Pennsylvania

Class injured or affected by Defendant’s common compensation practices, it would necessarily result

in a multiplicity of lawsuits, creating a hardship to the individuals and to this Court, as well as to

Defendant.

        98.     Accordingly, a class action is an appropriate method for the fair and efficient

adjudication of this lawsuit and distribution of the common fund to which the Pennsylvania Class is

entitled.

        99.     The books and records of Defendant are material to the Pennsylvania Class members’

claims because they disclose the hours worked by each member of the Pennsylvania Class and the

rates at which Pennsylvania Class members were paid.

                                         COUNT I
                         VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                    (COLLECTIVE ACTION)

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       100.    Plaintiffs incorporates here the previous allegations of this Complaint.

       101.    This count arises from Defendant’s violations of the FLSA by failing to pay overtime

to Plaintiffs and the Collective Action Members at one-and-one-half times their regular rates when

they worked over 40 hours in individual workweeks.

       102.    Plaintiffs and Collective Action Members were not exempt from the overtime

provisions of the FLSA.

       103.    During the prior three years, Defendant suffered and permitted Plaintiffs and other

Collective Action Members to work over 40 hours in one or more individual workweeks.

       104.    Defendant paid Plaintiffs and other Collective Action Members a salary.

       105.    Defendant did not pay Plaintiffs and other Collective Action Members one-and-one-

half times their regular rates of pay for all time they worked over 40 hours in one or more individual

workweeks.

       106.    Defendant violated the FLSA by failing to pay overtime to Plaintiffs and other

Collective Action Members at one-and-one-half times their regular rates of pay when they worked

over 40 hours in one or more individual workweeks.

       107.    Defendant’s violations of the FLSA were willful.

                                            COUNT II
                   VIOLATION OF THE PENNSYLVANIA MINIMUM WAGE ACT
                                    (CLASS ACTION)

       108.    Plaintiffs incorporate here the previous allegations of this Complaint.

       109.    Defendant violated the PMWA by failing to pay overtime to Plaintiffs and members

of the Pennsylvania Class when they worked over 40 hours in individual workweeks.




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       110.    Defendant classified Plaintiffs and the members of the Pennsylvania class as exempt

from the overtime provisions of the PMWA.

       111.    Plaintiffs and members of the Pennsylvania Class were not exempt from the overtime

provisions of the PMWA.

       112.    Defendant suffered and permitted Plaintiffs and members of the Pennsylvania Class

to work over 40 hours in one or more individual workweeks.

       113.    Defendant violated the PMWA by failing to pay Plaintiffs and the Pennsylvania Class

members overtime at one-and-one-half times their regular rates of pay when they worked over 40

hours in one or more individual workweeks.

       WHEREFORE, Plaintiffs, on behalf of themselves and the Collective Action Members and

the Pennsylvania Class members, seek a judgment against Defendant as follows:

       A.      An Order designating this lawsuit as a Collective Action under the FLSA and

               permitting the issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

               individuals;

       B.      All unpaid overtime wages due to Plaintiff and the Collective Action Members;

       C.      Pre-judgment and post-judgment interest;

       D.      Liquidated damages equal to the unpaid overtime compensation due;

       E.      Reasonable attorneys’ fees and costs incurred in filing and prosecuting this lawsuit;

               and

       F.      Such other relief as the Court deems appropriate.

       Jury Demand

       Plaintiffs demands a trial by jury.

                                                        Respectfully submitted,

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                                   /s/ Joshua P. Geist
                                   Joshua P. Geist

                                   Pa.I.D. #85745
                                   Goodrich & Geist, P.C.
                                   3634 California Avenue
                                   Pittsburgh, PA 15212
                                   412-766-1455
                                   412-766-0300 (fax)

                                   TRAVIS M. HEDGPETH*
                                   Texas Bar No. 24074386
                                   THE HEDGPETH LAW FIRM, PC
                                   3050 Post Oak Blvd., Suite 510
                                   Houston, Texas 77056
                                   Telephone: (281) 572-0727
                                   Facsimile: (281) 572-0728
                                   travis@hedgpethlaw.com

                                   JACK SIEGEL*
                                   Texas Bar No. 24070621
                                   Siegel Law Group PLLC
                                   2820 McKinnon, Suite 5009
                                   Dallas, Texas 75201
                                   P: (214) 790-4454
                                   www.4overtimelawyer.com

                                   *Application for admission pro hac vice
                                   forthcoming

                                   Attorneys for Plaintiffs and Others
                                   Similarly Situated




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JS 44 (Rev. 09/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
LORI COLTOGIRONE AND MARTHA AGGAZIO, INDIVIDUALLY AND                                                        GATEWAY HEALTH PLAN, INC.,
ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

Joshua P. Geist, Goodrich and Geist, PC, 3634 California Avenue,
Pittsburgh, PA 15212, 412-766-1455

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                     (15 USC 1681 or 1692)
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 485 Telephone Consumer
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Protection Act
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 490 Cable/Sat TV
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 850 Securities/Commodities/
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                                   Exchange
                                             Medical Malpractice                                            Leave Act                                                     ’ 890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 891 Agricultural Acts
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 893 Environmental Matters
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 895 Freedom of Information
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 896 Arbitration
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 899 Administrative Procedure
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Act/Review or Appeal of
                                             Employment                 Other:                       ’ 462 Naturalization Application                                           Agency Decision
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                              ’ 950 Constitutionality of
                                             Other                    ’ 550 Civil Rights                   Actions                                                              State Statutes
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
                     Case 2:20-cv-00605-MJH Document 1 Filed 04/24/20 Page 17 of 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Western District
                                                   __________       of Pennsylvania
                                                                District of __________

                                                                       )
  LORI COLTOGIRONE AND MARTHA AGGAZIO,                                 )
INDIVIDUALLY AND ON BEHALF OF ALL OTHERS                               )
           SIMILARLY SITUATED,                                         )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No.
                                                                       )
            GATEWAY HEALTH PLAN, INC.,                                 )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                            Gateway Health Plan, Inc
                                            444 Liberty Ave #2100
                                            Pittsburgh, PA 15222




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Joshua P. Geist, Esq.
                                           Goodrich and Geist, PC
                                           3634 California Avenue
                                           Pittsburgh, PA 15212



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
